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AO 239 (Rev. 01/15) Application to Proceed in District Court Without +renavina vec vs —.. _7 RECEIVED _. COPY
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APPLICATION TO PROCEED IN DISTRICT COURT WITHOUT PREPAYING FEES OR COSTS
yuveg OTM)

Affidavit in Supvort of the Apnplication . Instructians

; Tem g plaintiff or petitioner in this case and declare Compiete ali questions in this application and then sign it.
that I am unable to pay the costs of these proceedings Do not leave any blanks: if the answer to a question is “0,”

| and that I am entitled to the relief requested. Ideclare “none.” or “not applicable (N/A).” write that response. If
under penalty of\perjury that the information below is —_ you need more space to answer a question or to explain your
true and understahd that a false statement may result in answer, attach a separate sheet of paper identified with your
a dismissal of name, your case's docket number, and the question number.

Date: 09/07/2022

1. For both you and your spouse estimate the average amount of money received from each of the following
sources during the past 12 months. Adjust any amount that was received weekly, biweekly, quarterly,
semiannually, or annually to show the monthly rate. Use gross amounts, that is, amounts before any deductions
for taxes or otherwise.

Income source Average monthly income income amount expecied
amount during the past 1Z next month
months
You Spouse You Spouse
Employment § 0.00|s 0.00/$ 0.00 |$ 0.00
Self-employment $ 0.00 |$ 0.00|$ 0.00 |$ 0.00
Income from real property (suck as rental income) ¢ 0.00 |$ 0.00|$ 0.00 {$ 0.00
Interest and dividends $ 0.00 |$ 0.001$ 0.00 |$ 0.00}
Gift
ws $ 0.00|$ 0.00/$ 0.00 |$ 0.00|
Alimon
y $ 0.00 |$ 0.00|$ 0.00 |$ 0.00

Child support $ 0.00/$ . 0.00;5 0.00 1$ 0.00

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AO 239 (Rev. 01/15) Application to Proceed in District Court Without Prepaying Fees or Costs (Long Form)
Retirement (such as social security, pensions, annuities, $ 1,058.001$ 0.00!$ 0.00 |$
insurance)
Disability (such as social security, insurance payments) $ 0.00|$ 0.001$ 0.00 {$ 0.00
Unemployment payments $ 0.0018 0.00|$ 0.00 |$ 0.00
Public-assistance (such as welfare) $ 0.00|$ 0.001$ 0.00 |$ 0.00
Other (pects: $ 0.001$ 0.00/$ 0.00 |$
Total monthly income: $ 1,058.00/$ 0.00/$ 0.00 |$ 0.00
2. List your employment history for the past two years, most recent employer first. (Gross monthly pay is before taxes or
other deductions.)
Employer Address Dates of employment Gross
monthly pay
N/A N/A N/A $ 0.00
$ 0.00
3. List your spouse's employment history for the past two years, most recent employer first. (Gross monthly pay is before
taxes or other deductions.)
Employer Address Dates of employment Gross
monthly pay
N/A N/A N/A $ 0.00
$
$
4, How much cash do you and your spouse have? $
Below, state any money you or your spouse have in bank accounts or in any other financial institution.
Financial institution Type of account Amount you have Amount your
spouse has
U.S. Bank checking $ 958.00 |$ 0.00)
$ $
$ $

If you are a prisoner, you must attach a statement certified by the appropriate institutional officer showing all receipts,
expenditures, and balances during the last six months in your institutional accounts. If you have multiple accounts,
perhaps because you have been in multiple institutions, attach one certified statement of each account.

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AO 239 (Rev. 01/15) Application to Proceed in District Court Without Prepaying Fees or Costs (Long Form)
5. List the assets, and their values, which you own or your spouse owns. Do not list clothing and ordinary
houschold furnishings.
Assets owned by you or your spouse

Home (Value) $ 90,000.00
Other real estate (Value) $ 0.00
Motor vehicle #/ (Value) $ 14,000.00

Make and year: Nissan Sentra

Model: SE

Registration #:
Motor vehicle #2 (Value) $ 0.00

Make and year: N/A ones

Model: N/A

Registration #: N/A
Other assets (Value) $ 0.00
Other assets (Value) $ 0.00
6. State every person, business, or organization owing you or your spouse money, and the amount owed.
Person owing you or your spouse Amount owed to you Amount owed to your spouse
money
N/A 0.00/$ 0.00

$
$

7. State the persons who rely on you or your spouse for support.
Name (or, if under 18, initials only) Relationship Age

N/A

N/A

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AO 239 (Rev. 01/15) Application to Proceed in District Court Without Prepaying Fees or Costs (Long Form)

8. Estimate the average monthly expenses of you and your family. Show separately the amounts paid by your
spouse. Adjust any payments that are made weekly, biweekly, quarterly, semiannually, or annually to show the
monthly rate.

You Your spouse

Rent or home-mortgage payment (including lot rented for mobile home)

Are real estate taxes included? (1 Yes M No $ 0.00 |$ 0.00
Is property insurance included? O Yes No

Utilities (electricity, heating fuel, water, sewer, and telephone) § 570.00 |§ 0.00

Home maintenance (repairs and upkeep) $ 50.00 |$ 0.00

Food $ 150.00 |$ 0.00

Clothing $ 25.00 |$ 0.00

Laundry and dry-cleaning $ 0.001$ 0.00

Medical and dental expenses $ 0.00 |$ 0.00

Transportation (not including motor vehicle payments) $ 0.00 1$ 0.00

Recreation, entertainment, newspapers, magazines, etc. $ 77.00 '1$ 0.00

Insurance (not deducted from wages or included in mortgage payments) S
Homeowner's or renter's: $ 77.00 |$ 0.00
Life: $ 0.00 |$ 0.00
Health: § 0.00 |$ 0.00
Motor vehicle: $ 125.00 |$ 0.00
Other: $ 0.00 |$ 0.00

Taxes (not deducted from wages or included in mortgage payments) (specify): $ 0.00 |s 0.00

Installment payments
Motor vehicle: $ 0.00 |$ 0.00
Credit card (name): $ 0.00 |$ 0.00
Department store (name): $ 0.001$ 0.00
Other: $ 0.00 |$ 0.00

Alimony, maintenance, and support paid to others $ 0.00}$ 0.00

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AO 239 (Rev. 01/15) Application to Proceed in District Court Without Prepaying Fees or Costs (Long Form)
Regular expenses for operation of business, profession, or farm (attach detailed
statem $ 0.00}$ 0.00
ement)
Other (specify): $ 0.00/$ 0.00
m 1,074.00 0.00
Total monthly expenses: $ , $

10.

It.

12,

Do you expect any major changes to your monthly income or expenses or in your assets or liabilities during the
next 12 months?

O Yes i No If yes, describe on an attached sheet.

Have you spent — or will you be spending — any money for expenses or attorney fees in conjunction with this
lawsuit? © Yes No

If yes, how much? $ 0.00

Provide any other information that will help explain why you cannot pay the costs of these proceedings.
Aithough I'do owe money to US bank credit card, | have Been unable td pay them for many months. lam

behind on my utilities. | am about to lose my cable connection due to late payments. | pay a little on most bills
each month.

Identify the city and state of your legal residence.
Florence, Arizona

Your daytime phone number: “1 Ld ~ BR lo a ROS

Yourage: 63 Your years of schooling: 12

